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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                                  NEWPORT NEWS DIVISION




BRENDA KAY JOHNSON,

        Plaintiff,

V.                                                                           Case No. 4:23cvI27


VETTY, INC.,

        Defendant.




                                             ORDER


        The parties herein have reported to the court that this matter is settled. It is, therefore,

ORDERED that this case be, and it hereby is, DISMISSED AGREED with prejudice.

Jurisdiction in the matter is retained solely for the pui-pose of enforcing the settlement agreement

resulting in dismissal of the action.

       The Clerk shall forward copies of this order to all counsel of record.

                                                                  hL
                                                    Rebecca Beach Smith
                                                    Senior United States District Judge
January 33,2024
                                               SENIOR UNITED STATES DISTRICT JUDGE
